EXHIBIT 7
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<
                                  Mike
                                  Mike>

                            Jul 22, 2016, 5:06 PM

                 /
                     Stop stealing my patients.
                     Edward wojcik made a written
                     statement that your team told
                     him that II work with you. I'm
                                                  I'm
                     documenting all this I promise
                     you I'll
                          I'll see you in court soon.

    Go fuck your self
            A                                                         k
                 Mother fucker you don't know
                 me yet. You fucken father that
                 mother fucker didn't teach you
                 how to respect your master.
                 You mother the fucken hoe had
                 given birth to a cunt like you.
                 You want to use profanity. I'll
                                              I'll
                 show you legally what II can do
             ■
                 you you in court.
            A
                 Crimson family you come from.
                 Your used to it
                                                                      y
            A
                 Criminal family you came from.
                 II know. I'll
                          I'll let the court do its
                 work.

   Go fuck your self
               /-
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<
                              Mike
                              Mike>

                       Your mom first bitch. Then ur
                       dad

    Go fuck your self
             A
                 Your mom first. Then your dad

    Go fuck your self
                                    A
                                        Okay your dad first

    Go fuck your self
                       A
                           Okay both at the same time

    Go fuck your self
                               A                               %
                                   Okay your mom alone

    I'm going to rape u like the
    I'm
    whore u are... I can wait


                 'v.
                       Rape is what your family does

                             Your used to guys I know
                                              A
                                                  Haj my ass
                                              V,



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<
                              Mike
                              Mike>

    I'm
    I'm not, I'm the devil and it are
    going to witness it cunt

                     I'll let the court deal with your
                     ass
                 V

                 I'm not a devil or criminal like u

    I don't deal with courts u whore

    Ur going to regret ever hearing
    my name
                              A
                                  II khoW.
                                     know. 'You
                                            You arb
                                                are a thug

    U homo...
                         A
                             Duds you are a criminal.
                         -                                      V
                &
                     Your father still owe poeple
                     month and stole from people.
                     Your no different.
                x.



    Go fuck your self
                                      A
                                          Your a criminal.

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